                           Case:20-01947-jwb                             Doc #:456 Filed: 04/13/2021                              Page 1 of 41



                                                                  UNITED STATES BANKRUPTCY COURT
                                                                   WESTERN DISTRICT OF MICHIGAN


In re: BARFLY VENTURES, LLC, et al.,1                                                                           Case No. 20-1947-jwb
                                                                                                                Reporting Period: December 31, 2020


                                                                       MONTHLY OPERATING REPORT
                                     File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                    Document          Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                       Form No.                    Attached          Attached         Attached
Schedule of Cash Receipts and Disbursements                                            MOR-1                    MOR 1 - Disbursements
   Bank Reconciliation (or copies of debtor's bank reconciliations)                    MOR-1a                            X
   Schedule of Professional Fees Paid                                                  MOR-1b                            X
   Copies of bank statements                                                                                          MOR 1a
   Cash disbursements journals
Statement of Operations                                                                MOR-2                             X
Balance Sheet                                                                          MOR-3                                                X
Status of Postpetition Taxes                                                           MOR-4                             N/A
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                   MOR-4                             N/A
  Listing of aged accounts payable                                                     MOR-4                             N/A
Accounts Receivable Reconciliation and Aging                                           MOR-5                             N/A
Debtor Questionnaire                                                                   MOR-5                              X


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                ______________________________
Signature of Debtor                                                                    Date


_______________________________________                                                ______________________________
Signature of Joint Debtor                                                              Date

                                                                                       4.12.21
_______________________________________                                                ______________________________
Signature of Authorized Individual*                                                    Date

 Ned Lidvall                                                                           CEO
_______________________________________                                                ______________________________
Printed Name of Authorized Individual                                                  Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

1- The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552),
HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
                           Case:20-01947-jwb                     Doc #:456 Filed: 04/13/2021                                Page 2 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                     Case No. 20-1947-jwb
                        Debtor                                                                          Reporting Period: December 31, 2020


                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                  BANK ACCOUNTS                              CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.    PAYROLL       TAX       OTHER           ACTUAL            PROJECTED             ACTUAL               PROJECTED
CASH BEGINNING OF MONTH


RECEIPTS
CASH SALES
ACCOUNTS RECEIVABLE
LOANS AND ADVANCES
SALE OF ASSETS
                                                                                  See MOR 1 - Disbursements
OTHER (ATTACH LIST)
TRANSFERS (FROM DIP ACCTS)


  TOTAL RECEIPTS


DISBURSEMENTS
NET PAYROLL
PAYROLL TAXES
SALES, USE, & OTHER TAXES
INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
OTHER (ATTACH LIST)


OWNER DRAW *
TRANSFERS (TO DIP ACCTS)


PROFESSIONAL FEES
U.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS


NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                          THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                             $
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $
                                                                         Case:20-01947-jwb                           Doc #:456 Filed: 04/13/2021                                          Page 3 of 41


In re: BARFLY VENTURES, LLC, et al.                                                                                                                                                                  Case No. 20-1947-jwb
          Debtor                                                                                                                                                                          Reporting Period: December 31, 2020


                                                                                                                                       MOR 1 - Disbursements
                                      Beginning            In-transit                                                                                                                                           Ending Bank
                                     Balance BS          (deposits/ x-                                                                                                                    Service Charges         Balance         Ending Balance
            Account                  11/30/2020            fer/disb.)         Deposits       Disbursements         X-Fer Out           X-fer In         X-fer to Buyer      Chargebacks      & Other            12/31/2020         BS 12/31/2020          Bank Stmt         Diff.
               Chemical 5015     $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -                                   -
               Chemical 5608     $          8,705      $              -   $         6,328    $         (280)   $            -      $          -       $             -      $         -    $             (3)   $        14,751     $        14,751     $        14,751             -
               Chemical 7488     $      1,685,773      $              -   $           223    $          -      $      (497,232)    $          -       $             -      $         -    $           -       $     1,188,764     $     1,188,764     $     1,188,764             -
               Chemical 5554     $         14,168      $              -   $           -      $    (423,460)    $      (200,000)    $      690,982     $         (67,521)   $         -    $           (32)    $        14,136     $        14,136     $        14,136            0.00
        Main Merchantile 4777    $        141,499      $              -   $       236,550    $    (221,124)    $        (26,236)   $       47,950     $             -      $         -    $          (176)    $       178,463     $       178,463     $       178,463           (0.00)
              Mercantile 6311    $            312      $              -   $           -      $          -      $           (312)   $          -       $             -      $         -    $           -       $              0    $              0    $           -              0.00
              Mercantile 6926    $         30,027      $              -   $           -      $     (27,679)    $         (2,348)   $          -       $             -      $         -    $           -       $             (0)   $             (0)   $           -             (0.00)
          FSA-Mercantile 0888    $             -       $              -   $           -      $          -      $            -      $          300     $             -      $         -    $          (300)    $           -       $           -       $           -               -
        GRBC-Mercantile 1069     $                0    $              -   $            29    $          (29)   $            (29)   $           97     $             -      $         -    $           (68)    $              0    $              0    $           -              0.00
           AA-Mercantile 3877    $                0    $              -   $           288    $         (288)   $           (257)   $          330     $             -      $         -    $           (73)    $              0    $              0    $           -              0.00
        GRbel-Mercantile 0488    $                0    $              -   $           533    $         (533)   $           (492)   $          492     $             -      $         -    $           -       $              0    $              0    $           -              0.00
                   HCBR 3840     $                0    $              -   $           138    $         (138)   $           (106)   $          180     $             -      $         -    $           (73)    $              0    $              0    $           -              0.00
              HC Detroit 3859    $               (0)   $              -   $           211    $         (223)   $           (211)   $          297     $             -      $         -    $           (74)    $             (0)   $             (0)   $           -             (0.00)
                   HC EL 8171    $               (0)   $              -   $           535    $         (382)   $           (660)   $          581     $             -      $         -    $           (74)    $             (0)   $             (0)   $           -             (0.00)
                   HCGR 4123     $                0    $              -   $           289    $         (429)   $           (258)   $          472     $             -      $         -    $           (73)    $              0    $              0    $           -              0.00
                 HCHOL 0451      $                0    $              -   $           228    $         (228)   $           (236)   $          236     $             -      $         -    $           -       $              0    $              0    $           -              0.00
                   HCKC 9044     $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -       $           -               -
                   HCKZ 9227     $                0    $              -   $           -      $         (440)   $            -      $          462     $             -      $         -    $           (22)    $              0    $              0    $           -              0.00
                   HCLN 0830     $                0    $              -   $           230    $       (3,027)   $           (149)   $        3,018     $             -      $         -    $           (72)    $              0    $              0    $           -              0.00
                   HCLV 8353     $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -       $           -               -
                   HCLX 5216     $             -       $              -   $            45    $          (45)   $            (28)   $           28     $             -      $         -    $           -       $           -       $           -       $           -               -
                  HCMD 8215      $             -       $              -   $            45    $          (45)   $            (28)   $           96     $             -      $         -    $           (68)    $           -       $           -       $           -               -
                  HCMN 8664      $             -       $              -   $            75    $          (75)   $            (58)   $           58     $             -      $         -    $           -       $           -       $           -       $           -               -
                   HCRO 9062     $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -       $           -               -
                  Stellas 4115   $               (0)   $              -   $            31    $          (31)   $            (68)   $          137     $             -      $         -    $           (69)    $             (0)   $             (0)   $           -             (0.00)
                Waldron4460      $               (0)   $              -   $           267    $         (267)   $           (267)   $          335     $             -      $         -    $           (68)    $             (0)   $             (0)   $           -             (0.00)
                 HCCHIC6863      $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -       $           -               -
                   HCLIN8959     $         17,095      $              -   $           -      $          -      $        (17,074)   $          -       $             -      $         -    $           (21)    $             (0)   $             (0)   $           -             (0.00)
                     BFV4153     $          3,989      $              -   $        (1,808)   $          -      $            -      $          -       $             -      $         -    $           (12)    $         2,169     $         2,169     $         2,169            0.00
                     BFV9371     $         29,808      $              -   $           -      $          -      $            -      $          -       $             -      $         -    $          (221)    $        29,586     $        29,586     $        29,586             -
                     BFV9828     $         41,193      $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           (34)    $        41,159     $        41,159     $        41,159             -
         Cash on hand & misc.    $             -       $              -   $           -      $          -      $            -      $          -       $             -      $         -    $           -       $           -       $           -       $           -               -
                                                                                                                                                                                                                                                                                  -
Total                            $       1,972,569     $             -    $       244,238    $    (678,725) $         (746,049) $         746,049     $        (67,521) $           -     $        (1,533) $        1,469,028     $     1,469,028     $     1,469,028   $           (0)
                                                                                                                                                  -

                                                       UST Fees
                                                       Disbursements for period              $     678,725
                                                            1.00%                            $       6,787
                    Case:20-01947-jwb                           Doc #:456 Filed: 04/13/2021                                      Page 4 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                           Case No. 20-1947-jwb
                Debtor                                                                                        Reporting Period: December 31, 2020

                                                                BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                   A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

                                                        Operating                          Payroll                         Tax                                Other
                                              #                               #                               #                               #
BALANCE PER BOOKS

BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
                                                                                              See Attachment MOR 1a
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
   balance per books

DEPOSITS IN TRANSIT                                Date          Amount            Date          Amount            Date          Amount               Date        Amount




CHECKS OUTSTANDING                                Ck. #          Amount            Ch. #         Amount            Ck. #         Amount               Ck. #       Amount




OTHER
                                       Case:20-01947-jwb                Doc #:456 Filed: 04/13/2021                      Page 5 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                                                                      Case No. 20-1947-jwb
                Debtor                                                                                                                    Reporting Period: December 31, 2020

                                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                       This schedule is to include all retained professional payments from case inception to current month.

                                                                              Amount                          Check                   Amount Paid            Filing-To-Date
                      Payee                          Period Covered          Approved        Payor        Number    Date             Fees  Expenses        Fees        Expenses

Rock Creek Advisors (Debtor FA)                      Oct                 $     115,715 Debtor             WIRE                     $92,572             $   501,923   $      -
Mastodon Ventures (Debtor IB)                        N/A                               Debtor             WIRE                                         $    60,000   $      -
Warner Norcross + Judd (Debtor - Local)              Oct                 $      47,968 Debtor             WIRE                     $38,374       $18   $   147,206   $   49,279
Sugar Felsnethal Grais & Helsinger LLP (UCC)         Oct                 $      24,600 Debtor             WIRE                     $19,680             $   206,520   $       35
Jaffee Raitt Heuer & Weiss (UCC)                     Oct                 $      14,538 Debtor             WIRE                     $11,630      $147   $   100,471   $      164
Amherst Partners (UCC FA)                            Oct                 $       2,470 Debtor             WIRE                      $1,976             $    43,024   $      -
Pachulski Stang Ziehl & Jones LLP (Debtor Counsel)   Oct                 $      81,153 Debtor             WIRE                     $64,922      $390   $   142,102   $      746
                        Case:20-01947-jwb                      Doc #:456 Filed: 04/13/2021                              Page 6 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                                Case No. 20-1947-jwb
                Debtor                                                                                             Reporting Period: December 31, 2020

                                                STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                                    Cumulative Filing to
REVENUES                                                                           Current Reporting Month                Date
Gross Revenues                                                                                                                 8,445,922
Less: Returns and Allowances                                                                                                     266,160
Net Revenue                                                                                                    0               8,179,762
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                                                                 2,075,402
                                                                                                              0                    6,104,360
OPERATING EXPENSES
Cure Costs                                                                                                                          508,081
Employee Benefits Programs                                                                                                          360,685
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance                                                                                   7,809                        6,591
Rent and Lease Expense                                                                                   40,747                    2,034,978
Salaries/Commissions/Fees                                                                                                          3,420,137
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities                                                                                                                           6,649
Misc                                                                                                     38,363                 2,656,889
Total Operating Expenses Before Depreciation                                                            86,919                  8,994,011
Depreciation/Depletion/Amortization                                                                                             2,249,155
Net Profit (Loss) Before Other Income & Expenses                                                       (86,919)                (5,138,806)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                                                    (73,363)
Interest Expense                                                                                           -223                 1,458,224
Other Expense (See attached schedule) "Other G&A"                                                                                 417,527
Net Profit (Loss) Before Reorganization Items                                                          (86,696)                (6,941,194)
REORGANIZATION ITEMS
Professional Fees                                                                                       245,671
Impairment                                                                                                                          186,130
U. S. Trustee Quarterly Fees                                                                                                         59,430
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                                                     731,161
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                                    ($332,367)                (7,284,832)

*"Insider" is defined in 11 U.S.C. Section 101(31).
                               Case:20-01947-jwb                                 Doc #:456 Filed: 04/13/2021                                               Page 7 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                                                   Case No. 20-1947-jwb
                                Debtor                                                                                                Reporting Period: December 31, 2020


                                                                         BALANCE SHEET 2

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                                        ASSETS                                                CURRENT REPORTING MONTH                          PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                                                               $6,661,689
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)                                                                                                                                          $36,786
Notes Receivable
Inventories                                                                                                                                                       $628,379
Prepaid Expenses                                                                                                                                                  $385,740
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                                                            $7,712,594
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment                                                                                                                                        $21,414,637
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                                                                     $21,414,637
OTHER ASSETS
Loans to Insiders* 1                                                                                                                                                    $0
Other Assets (attach schedule)                                                                                                                                      857,662
TOTAL OTHER ASSETS                                                                                                                                                $857,662

TOTAL ASSETS                                                                                                                                                   $29,984,893


                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Accrued Liabilities (see schedule)
Deferred Lease Credits
Secured Debt / Leases Obligations (Post Petition Interest)
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                                                                   $29,729,084
Priority Debt
Unsecured Debt
 Accounts Payable                                                                                                                                                 5,154,857
 PPP Loan                                                                                                                                                         6,482,827
 Acrued Liabilites (see schedule)                                                                                                                                 1,412,643
 Other Liabilities (see schedule)                                                                                                                                   185,318
 Deferred Lease Credits                                                                                                                                          10,065,439
TOTAL PRE-PETITION LIABILITIES                                                                                                                                 $53,030,168

TOTAL LIABILITIES                                                                                                                                              $53,030,168
OWNER EQUITY
Member Activity                                                                                                                                                $16,495,173
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings                                                                                                                                              (31,611,871)
Adjustments to Owner Equity (attach schedule)
Net Income                                                                                                                                                      (7,928,577)
NET OWNER EQUITY                                                                                                                                               (23,045,275)

TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                                                           $29,984,893

*"Insider" is defined in 11 U.S.C. Section 101(31).

1-                                                                                                                                                     .
     At December 31, 2018, the Company had unsecured, noninterest bearing advances due from a member in the amount of $1,554,059
2-
     As of the sale transaction date the Debtor's only asset was cash as reported on MOR 1 Disbursements.
                        Case:20-01947-jwb                        Doc #:456 Filed: 04/13/2021                               Page 8 of 41



In re: BARFLY VENTURES, LLC, et al.                                                                      Case No. 20-1947-jwb
              Debtor                                                                                     Reporting Period: December 31, 2020

                                                      STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                      Beginning         Amount                                                                Ending
                                                        Tax            Withheld or         Amount              Date           Check No.         Tax
                                                      Liability         Accrued             Paid               Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income                                                                                                N/A
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                            SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                          Number of Days Past Due
                                                       Current             0-30            31-60          61-90                Over 90         Total
Accounts Payable                                                                                                                                          $0
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                         $0               $0                $0                $0                 $0               $0

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).
                      Case:20-01947-jwb                   Doc #:456 Filed: 04/13/2021            Page 9 of 41



In re: BARFLY VENTURES, LLC, et al.                                                            Case No. 20-1947-jwb
             Debtor                                                                            Reporting Period: December 31, 2020


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                      Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                               Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                       Yes            No
1. Have any assets been sold or transferred outside the normal course of business                                 X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation               X
   below.
4. Are workers compensation, general liability and other necessary insurance                        X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                   X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.


Debtor Questionnaire explanation.
                                             Case:20-01947-jwb               Doc #:456 Filed: 04/13/2021                 Page 10 of 41

                                                      Return Service Requested                                               Page:             1 of 4
                                                                                                                             Statement Date: 12/31/2020
                                                                                                                             Primary Account: XXXXXX4777
                                                                           07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-18619-0001




                                                                                                                              E
                                                              BARFLY VENTURES, LLC                                     <T> 30-0
                                                              35 OAKES ST SW STE 400                                          0
                                                              GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX4777
                               Last Statement       Previous Balance        This Statement           Current Balance     Total Credits           Total Debits
                                  11/30/20            141,499.43                   12/31/20            178,463.27       253,673.10 (78)         216,709.26 (98)


                              DEPOSITS
                               Reference     Date         Amount             Reference        Date        Amount         Reference       Date        Amount

                                             12/11              105.00



                              CREDITS
                              Date Description                                                                                                          Amount
                              12/01   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                        115.00
                              12/02   Transfer From Coml Analysis Ck Account                                                                              153.00
                              12/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                         25.00
                              12/03   Payments Bhn Ft Sre                    For 2020-12-03 A/C Mercanti                                                1,147.50
                              12/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                         45.00
                              12/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                         75.00
                              12/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                        160.00
                              12/08   Transfer From Coml Analysis Ck Account      8215                                                                     10.45
                              12/08   Transfer From Coml Analysis Ck Account      5216                                                                     10.45
                              12/08   Transfer From Coml Analysis Ck Account     4460                                                                      27.95
                              12/08   Transfer From Coml Analysis Ck Account     1069                                                                      29.40
                              12/08   Transfer From Coml Analysis Ck Account     4115                                                                      31.12
                              12/08   Transfer From Coml Analysis Ck Account      8664                                                                     40.45
                              12/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                        120.00
                              12/08   Ach Return Worldpay                                                                                                 135.24
                              12/08   Infinisource0706 Pc Nov20                                                                                           448.48
                              12/09   Transfer From Coml Analysis Ck Account      8215                                                                     17.50
                              12/09   Transfer From Coml Analysis Ck Account      5216                                                                     17.50
                              12/09   Transfer From Coml Analysis Ck Account      8664                                                                     17.50
                              12/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                         40.00
                              12/09   Transfer From Coml Analysis Ck Account      3840                                                                     69.08
                              12/09   Transfer From Coml Analysis Ck Account      0830                                                                    148.77
                              12/09   Transfer From Coml Analysis Ck Account      3877                                                                    207.38
                              12/09   Transfer From Coml Analysis Ck Account      3859                                                                    210.99
                              12/09   Transfer From Coml Analysis Ck Account     4123                                                                     221.15
                              12/09   Transfer From Coml Analysis Ck Account     8171                                                                     303.47
                                            Case:20-01947-jwb          Doc #:456 Filed: 04/13/2021             Page 11 of 41
                                                                          BARFLY VENTURES, LLC                    Page:            2 of 4
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503                  Statement Date: 12/31/2020
                                                                                                                  Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 210101-18619-0002




                              Date Description                                                                                      Amount
                              12/09   Transfer From Coml Analysis Ck Account         0488                                             454.41
                              12/09   Returned Check#          A-Nsf                                                               12,000.00
                              12/09   Incoming Wire 44207616 Barfly Ventures, Llc                                                 200,000.00
                              12/10   Transfer From Coml Analysis Ck Account        4115                                               37.32
                              12/10   Transfer From Coml Analysis Ck Account        8171                                               37.32
                              12/10   Transfer From Coml Analysis Ck Account         3840                                              37.32
                              12/10   Transfer From Coml Analysis Ck Account         0488                                              37.32
                              12/10   Transfer From Coml Analysis Ck Account        4123                                               37.32
                              12/10   Transfer From Coml Analysis Ck Account         3877                                              49.24
                              12/10   Enroll 123 Llc Ach Return Barfly Ventures                                                       103.50
                              12/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    130.00
                              12/10   Transfer From Coml Analysis Ck Account         0451                                             236.27
                              12/10   Payments Bhn Ft Sre                       For 2020-12-10 A/C Mercanti                         1,806.25
                              12/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    190.00
                              12/11   Internet Transfer From Business Money M XXXXXX6311 On 12/11/20 At 9:28                          312.03
                              12/11   Internet Transfer From Business Money M XXXXXX6926 On 12/11/20 At 9:25                        2,348.14
                              12/14   Request To Close Account - Shawn Blonk                                                            0.37
                              12/14   Transfer From Coml Analysis Ck Account        8171                                               12.72
                              12/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     80.00
                              12/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    150.00
                              12/14   American Express Settlement XXXXXX5238                                                          168.88
                              12/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    180.00
                              12/14   Adp Payroll Fees Ach Return 10fb7                                                               194.25
                              12/15   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    125.00
                              12/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    150.00
                              12/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     75.00
                              12/17   Payments Bhn Ft Sre                       For 2020-12-17 A/C Mercanti                         1,228.25
                              12/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term 02980689031501                                     145.00
                              12/21   American Express Settlement XXXXXX5238                                                           24.06
                              12/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     85.00
                              12/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    120.00
                              12/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    350.00
                              12/22   American Express Settlement XXXXXX5238                                                           38.51
                              12/22   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    100.00
                              12/22   Transfer From Coml Analysis Ck Account        4460                                              239.16
                              12/22   Mercmobile Deposit                                                                            5,000.00
                              12/23   American Express Settlement XXXXXX5238                                                           72.12
                              12/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    149.76
                              12/23   Mercmobile Deposit                                                                           17,073.85
                              12/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    270.00
                              12/24   Payments Bhn Ft Sre                       For 2020-12-24 A/C Mercanti                         1,445.00
                              12/28   American Express Settlement XXXXXX5238                                                           24.06
                              12/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     50.00
                              12/28   American Express Settlement XXXXXX5238                                                          173.54
                              12/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    205.00
                              12/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    330.00
                              12/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                    625.00
                              12/30   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     50.00
                              12/31   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     50.00
                              12/31   Adp Payroll Fees Ach Return                                                                     194.25
                              12/31   Payments Bhn Ft Sre                       For 2020-12-31 A/C Mercanti                         2,745.50
                                             Case:20-01947-jwb          Doc #:456 Filed: 04/13/2021                Page 12 of 41
                                                                              BARFLY VENTURES, LLC                        Page:            3 of 4
                                                                              35 OAKES ST SW STE 400
                                                                              GRAND RAP DS, MI 49503                      Statement Date: 12/31/2020
                                                                                                                          Primary Account: XXXXXX4777




                               CHECKS
MGMCSTMTN 210101-18619-0003




                               Date      Check No       Amount         Date         Check No           Amount      Date      Check No     Amount
                              12/01       84112       12,850.49       12/21         84128                651.10   12/21       84142         325.57
                              12/01       84113       11,402.02       12/21         84129                651.10   12/21       84143         325.57
                              12/01       84114        8,897.69       12/21         84130                651.10   12/21       84144         325.57
                              12/01       84115        7,900.55       12/21         84131                651.10   12/21       84145         325.57
                              12/01       84116       14,136.12       12/21         84132                651.10   12/21       84146         325.57
                              12/01       84117       14,115.89       12/21         84133                976.64   12/21       84147         651.10
                              12/01       84118       13,139.72       12/21         84134                978.27   12/21       84148         651.10
                              12/01       84119        4,861.64       12/21         84135                325.57   12/21       84149         651.10
                              12/01       84120 *     13,162.55       12/21         84136                325.57   12/23       84150         756.00
                              12/01       84124            8.22       12/21         84137              4,564.60   12/28       84151         354.03
                              12/02       84125        7,000.00       12/21         84138                325.57   12/28       84152         390.88
                              12/08       84126 *     12,000.00       12/21         84139                325.57   12/23       84153       5,750.00
                              12/10       84126       12,000.00       12/21         84140                325.57
                              12/21       84127          651.10       12/21         84141                325.57
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                              Amount
                              12/01   Transfer To Coml Analysis Ck Account         3859                                                        12.50
                              12/01   Transfer To Coml Analysis Ck Account         0830                                                     2,797.46
                              12/03   Transfer To Coml Analysis Ck Account        4123                                                         69.96
                              12/07   Transfer To Coml Analysis Ck Account        4460                                                         27.95
                              12/07   Transfer To Coml Analysis Ck Account         8215                                                        27.95
                              12/07   Transfer To Coml Analysis Ck Account         5216                                                        27.95
                              12/07   Transfer To Coml Analysis Ck Account        1069                                                         29.40
                              12/07   Transfer To Coml Analysis Ck Account        4123                                                         30.85
                              12/07   Transfer To Coml Analysis Ck Account         3877                                                        30.94
                              12/07   Transfer To Coml Analysis Ck Account        4115                                                         31.12
                              12/07   Transfer To Coml Analysis Ck Account         3840                                                        31.29
                              12/07   Transfer To Coml Analysis Ck Account        8171                                                         40.94
                              12/07   Transfer To Coml Analysis Ck Account         0488                                                        41.29
                              12/07   Transfer To Coml Analysis Ck Account         8664                                                        57.95
                              12/07   Transfer To Coml Analysis Ck Account         0830                                                        81.00
                              12/07   Mthchgs Worldpay Merch Bankcard             Barfly App                                                  135.24
                              12/07   Transfer To Coml Analysis Ck Account         9227                                                       375.73
                              12/07   Ipl Utilitypmt                                                                                        7,064.27
                              12/07   Barfly Ventures 1054 Clm Fund                                                                        12,805.88
                              12/08   Transfer To Coml Analysis Ck Account         0830                                                        67.77
                              12/08   Transfer To Coml Analysis Ck Account         3840                                                        75.11
                              12/08   Transfer To Coml Analysis Ck Account         3859                                                       210.99
                              12/08   Transfer To Coml Analysis Ck Account         3877                                                       225.68
                              12/08   Transfer To Coml Analysis Ck Account         0451                                                       227.60
                              12/08   Transfer To Coml Analysis Ck Account        4123                                                        227.62
                              12/08   Transfer To Coml Analysis Ck Account        8171                                                        299.85
                              12/08   Transfer To Coml Analysis Ck Account         0488                                                       450.44
                              12/09   Transfer To Coml Analysis Ck Account         0451                                                         8.67
                              12/09   Returned Nsf Fee                                                                                         32.00
                              12/09   Transfer To Coml Analysis Ck Account        4115                                                         37.32
                              12/09   Transfer To Coml Analysis Ck Account         9227                                                        37.32
                              12/09   Ins Prem Enroll 123 Llc Nte*Teladoc Invoice                                                             103.50
                              12/09   Contribute Aegon Usa                                       corp                                       4,549.38
                              12/10   Internet Transfer To Internal Bank Ac XXXXXX639 On 12/10/20 At 9:43                                   2,499.00
                              12/11   Transfer To Coml Analysis Ck Account        8171                                                         12.72
                              12/11   Adp Payroll Fees Adp - Fees 10fb7                                                                       194.25
                              12/14   Transfer To Coml Analysis Ck Account        4115                                                          8.99
                              12/14   Internet Transfer To Internal Bank Ac XXXXXX639 On 12/14/20 At 15:20                                 12,713.01
                              12/15   Transfer To Coml Analysis Ck Account         9227                                                        21.95
                              12/15   Transfer To Coml Analysis Ck Account        4115                                                         59.51
                              12/15   Transfer To Coml Analysis Ck Account        4460                                                         67.60
                                             Case:20-01947-jwb          Doc #:456 Filed: 04/13/2021            Page 13 of 41
                                                                            BARFLY VENTURES, LLC                  Page:            4 of 4
                                                                            35 OAKES ST SW STE 400
                                                                            GRAND RAP DS, MI 49503                Statement Date: 12/31/2020
                                                                                                                  Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 210101-18619-0004




                              Date Description                                                                                         Amount
                              12/15   Transfer To Coml Analysis Ck Account       1069                                                     67.75
                              12/15   Transfer To Coml Analysis Ck Account        8215                                                    67.90
                              12/15   Transfer To Coml Analysis Ck Account        0830                                                    71.65
                              12/15   Transfer To Coml Analysis Ck Account        3877                                                    73.15
                              12/15   Transfer To Coml Analysis Ck Account       4123                                                     73.15
                              12/15   Transfer To Coml Analysis Ck Account        3840                                                    73.45
                              12/15   Transfer To Coml Analysis Ck Account        3859                                                    73.60
                              12/15   Transfer To Coml Analysis Ck Account       8171                                                     74.20
                              12/15   Commercial Service Charge                                                                          144.20
                              12/15   Transfer To Coml Analysis Ck Account       0888                                                    300.00
                              12/17   Internet Transfer To Internal Bank Ac XXXXXX639 On 12/17/20 At 9:45                                325.00
                              12/21   Transfer To Coml Analysis Ck Account       4460                                                    239.16
                              12/23   Internet Transfer To Internal Bank Ac XXXXXX639 On 12/23/20 At 11:45                             2,478.67
                              12/28   Transfer To Coml Analysis Ck Account        9227                                                    27.13
                              12/28   Barfly Ventures 1054 Jan Fees                                                                   11,736.57
                              12/30   Transfer To Coml Analysis Ck Account       8171                                                    153.00
                              12/30   Adp Payroll Fees Adp - Fees 10fb7                                                                  194.25

                              DAILY BALANCE
                                Date                  Balance             Date                       Balance   Date              Balance
                                 12/01               38,329.58            12/10                196,046.27      12/21           171,468.05
                                 12/02               31,482.58            12/11                198,794.47      12/22           176,845.72
                                 12/03               32,585.12            12/14                186,858.69      12/23           185,156.78
                                 12/04               32,630.12            12/15                185,815.58      12/24           186,871.78
                                 12/07               12,025.37            12/16                185,965.58      12/28           175,770.77
                                 12/08                  906.15-           12/17                186,943.83      12/30           175,473.52
                                 12/09              208,033.41            12/18                187,088.83      12/31           178,463.27
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 14 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX4123
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-09705-0001




                                                                                                                             E
                                                             9 VOLT LLC                                               <T> 30-0
                                                             DBA HOPCAT                                                      0
                                                             OPERATING                                                       0
                                                             35 OAKES ST SW STE 400
                                                             GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX4123
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             728.22 (7)        728.22 (7)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/03   Transfer From Coml Analysis Ck Account                 4777                                                   69.96
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                   30.85
                              12/08   Ach Return Worldpay                                                                                           30.85
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                  227.62
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  258.47
                              12/10   Fintech.net Ach Return                                                                                        37.32
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   73.15

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/03   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.               Hop                                             69.96
                              12/07   Mthchgs Worldpay Merch Bankcard         Hopcat - Old                                                          30.85
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard       Hopcat Grand Rapids - Ecomm                                     258.47
                              12/09   Fintech.net Fintecheft XX-XXX1129                                                                             37.32
                              12/09   Transfer To Coml Analysis Ck Account     4777                                                                221.15
                              12/10   Transfer To Coml Analysis Ck Account     4777                                                                 37.32
                              12/15   Commercial Service Charge                                                                                     73.15

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/03                                          12/08                                    12/10
                                 12/07                                          12/09                                    12/15
                                             Case:20-01947-jwb               Doc #:456 Filed: 04/13/2021                 Page 15 of 41

                                                      Return Service Requested                                               Page:             1 of 1
                                                                                                                             Statement Date: 12/31/2020
                                                                                                                             Primary Account: XXXXXX4115
                                                                           07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-09704-0001




                                                                                                                              E
                                                              50 AMP FUSE, LLC                                         <T> 30-0
                                                              DBA STELLA'S LOUNGE                                             0
                                                              OPERATING                                                       0
                                                              35 OAKES ST SW STE 400
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX4115
                               Last Statement      Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20                0.00                     12/31/20               0.00             214.37 (7)        214.37 (6)


                              CREDITS
                              Date Description                                                                                                    Amount
                              12/07   Transfer From Coml Analysis Ck Account                  4777                                                    31.12
                              12/08   Ach Return Worldpay                                                                                             31.12
                              12/09   Transfer From Coml Analysis Ck Account                  4777                                                    37.32
                              12/10   Fintech.net Ach Return                                                                                          37.32
                              12/14   Transfer From Coml Analysis Ck Account                  4777                                                     8.99
                              12/15   Payment Alliance Ach Return 05-Xcvula                                                                            8.99
                              12/15   Transfer From Coml Analysis Ck Account                  4777                                                    59.51

                              DEBITS
                              Date Description                                                                                                    Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                    Stellas Lounge - Old                                         31.12
                              12/08   Transfer To Coml Analysis Ck Account                4777                                                        31.12
                              12/09   Fintech.net Fintecheft XX-XXX3684                                                                               37.32
                              12/10   Transfer To Coml Analysis Ck Account                4777                                                        37.32
                              12/14   Payment Alliance Eftransact 05-Xcvula                                                                            8.99
                              12/15   Commercial Service Charge                                                                                       68.50

                              DAILY BALANCE
                                Date                   Balance                   Date                  Balance            Date              Balance
                                 12/07                                           12/09                                    12/14
                                 12/08                                           12/10                                    12/15
                                             Case:20-01947-jwb               Doc #:456 Filed: 04/13/2021                 Page 16 of 41

                                                      Return Service Requested                                               Page:             1 of 1
                                                                                                                             Statement Date: 12/31/2020
                                                                                                                             Primary Account: XXXXXX4460
                                                                           07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-09886-0001




                                                                                                                              E
                                                              LUCK OF THE IRISH, LLC                                   <T> 30-0
                                                              DBA MCFADDENS RESTAURANT AND                                    0
                                                              SALOON                                                          0
                                                              35 OAKES ST SW STE 400
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX4460
                               Last Statement      Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20                0.00                     12/31/20               0.00             601.82 (5)        601.82 (5)


                              CREDITS
                              Date Description                                                                                                    Amount
                              12/07   Transfer From Coml Analysis Ck Account                  4777                                                   27.95
                              12/08   Ach Return Worldpay                                                                                            27.95
                              12/15   Transfer From Coml Analysis Ck Account                  4777                                                   67.60
                              12/21   Transfer From Coml Analysis Ck Account                  4777                                                  239.16
                              12/22   Positive Solutio Ach Return 1252                                                                              239.16

                              DEBITS
                              Date Description                                                                                                    Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                    Mcfaddens Restaurant And Salo                               27.95
                              12/08   Transfer To Coml Analysis Ck Account                4777                                                       27.95
                              12/15   Commercial Service Charge                                                                                      67.60
                              12/21   Support Positive Solutio 11/1/11-10/1/12                                                                      239.16
                              12/22   Transfer To Coml Analysis Ck Account                4777                                                      239.16

                              DAILY BALANCE
                                Date                   Balance                   Date                  Balance            Date              Balance
                                 12/07                                           12/15                                    12/22
                                 12/08                                           12/21
                                              Case:20-01947-jwb            Doc #:456 Filed: 04/13/2021                 Page 17 of 41

                                                    Return Service Requested                                               Page:             1 of 1
                                                                                                                           Statement Date: 12/31/2020
                                                                                                                           Primary Account: XXXXXX1069
                                                                         07001
                                                                                                                           Documents:       0

                                                                                                                           Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-10043-0001




                                                                                                                            E
                                                            GRBC HOLDINGS, LLC                                       <T> 30-0
                                                            DBA GRAND RAPIDS BREWING CO                                     0
                                                            35 OAKES ST SW STE 400                                          0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                              Account: XXXXXX1069
                               Last Statement     Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                   11/30/20             0.00                     12/31/20               0.00             126.55 (3)        126.55 (3)


                              CREDITS
                              Date Description                                                                                                  Amount
                              12/07 Transfer From Coml Analysis Ck Account                  4777                                                    29.40
                              12/08 Ach Return Worldpay                                                                                             29.40
                              12/15 Transfer From Coml Analysis Ck Account                  4777                                                    67.75

                              DEBITS
                              Date Description                                                                                                  Amount
                              12/07 Mthchgs Worldpay Merch Bankcard                    Grand Rapids Brewing Co                                      29.40
                              12/08 Transfer To Coml Analysis Ck Account                4777                                                        29.40
                              12/15 Commercial Service Charge                                                                                       67.75

                              DAILY BALANCE
                                Date                 Balance                   Date                  Balance            Date              Balance
                                 12/07                                         12/08                                    12/15
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 18 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX8171
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-10293-0001




                                                                                                                             E
                                                             EL BREWPUB, LLC                                          <T> 30-0
                                                             DBA HOPCAT EAST LANSING                                         0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX8171
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00            1,012.48 (9)      1,012.48 (9)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                   40.94
                              12/08   Ach Return Worldpay                                                                                           40.94
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                  299.85
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  340.79
                              12/10   Fintech.net Ach Return                                                                                        37.32
                              12/11   Transfer From Coml Analysis Ck Account                 4777                                                   12.72
                              12/14   5/3 Bankcard Sys Ach Return                                                                                   12.72
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   74.20
                              12/30   Transfer From Coml Analysis Ck Account                 4777                                                  153.00

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/02   Transfer To Coml Analysis Ck Account     4777                                                                153.00
                              12/07   Mthchgs Worldpay Merch Bankcard         Hopcat-East Lansing - Old                                             40.94
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard      Hopcat East Lansing - Ecomm                                      340.79
                              12/09   Fintech.net Fintecheft XX-XXX5334                                                                             37.32
                              12/09   Transfer To Coml Analysis Ck Account     4777                                                                303.47
                              12/10   Transfer To Coml Analysis Ck Account     4777                                                                 37.32
                              12/11   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                          12.72
                              12/14   Transfer To Coml Analysis Ck Account     4777                                                                 12.72
                              12/15   Commercial Service Charge                                                                                     74.20

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/02                  153.00-                 12/07                   153.00-          12/08              153.00-
                                 12/09                  153.00-                 12/11                   153.00-          12/15              153.00-
                                 12/10                  153.00-                 12/14                   153.00-          12/30
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 19 of 41

                                                     Return Service Requested                                                 Page:             1 of 1
                                                                                                                              Statement Date: 12/31/2020
                                                                                                                              Primary Account: XXXXXX3840
                                                                          07001
                                                                                                                              Documents:       0

                                                                                                                              Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16520-0001




                                                                                                                             E
                                                             HOPCAT- INDIANAPOLIS, LLC                                <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                 Account: XXXXXX3840
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits        Total Debits
                                  11/30/20               0.00                     12/31/20               0.00               354.86 (6)        354.86 (6)


                              CREDITS
                              Date Description                                                                                                     Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                     31.29
                              12/08   Ach Return Worldpay                                                                                             31.29
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                     75.11
                              12/09   Vantiv_intg_pymt Ach Return                                                                                    106.40
                              12/10   Fintech.net Ach Return                                                                                          37.32
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                     73.45

                              DEBITS
                              Date Description                                                                                                     Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat Indianapolis                                           31.29
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Indianapolis - Ecomm -                            106.40
                              12/09   Fintech.net Fintecheft XX-XXX7970                                                                               37.32
                              12/09   Transfer To Coml Analysis Ck Account               4777                                                         69.08
                              12/10   Transfer To Coml Analysis Ck Account               4777                                                         37.32
                              12/15   Commercial Service Charge                                                                                       73.45

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date                Balance
                                 12/07                                          12/09                                    12/15
                                 12/08                                          12/10
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 20 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX3859
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16521-0001




                                                                                                                             E
                                                             HOPCAT-DETROIT, LLC                                      <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX3859
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             508.08 (4)        508.08 (4)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/01   Transfer From Coml Analysis Ck Account                 4777                                                   12.50
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                  210.99
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  210.99
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   73.60

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/01   Intl Bancard Ach Ib-63001                                                                                     12.50
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard               Hopcat Detroit - Ecomm                                  210.99
                              12/09   Transfer To Coml Analysis Ck Account              4777                                                       210.99
                              12/15   Commercial Service Charge                                                                                     73.60

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/01                                          12/09
                                 12/08                                          12/15
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 21 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX3877
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16522-0001




                                                                                                                             E
                                                             HOPCAT-ANN ARBOR LLC                                     <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX3877
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             666.57 (7)        666.57 (7)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                   30.94
                              12/08   Ach Return Worldpay                                                                                           30.94
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                  225.68
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  256.62
                              12/10   5/3 Bankcard Sys Ach Return                                                                                   11.92
                              12/10   Fintech.net Ach Return                                                                                        37.32
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   73.15

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/07   Mthchgs Worldpay Merch Bankcard            Hopcat- Ann Arbor - Old                                            30.94
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard 2691544 Hopcat Ann Arbor - Ecomm                                      256.62
                              12/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 45033941485                                              11.92
                              12/09   Fintech.net Fintecheft XX-XXX5229                                                                             37.32
                              12/09   Transfer To Coml Analysis Ck Account        4777                                                             207.38
                              12/10   Transfer To Coml Analysis Ck Account        4777                                                              49.24
                              12/15   Commercial Service Charge                                                                                     73.15

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/09                                    12/15
                                 12/08                                          12/10
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 22 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX8215
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16366-0001




                                                                                                                             E
                                                             HOPCAT-MADISON, LLC                                      <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX8215
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             141.30 (4)        141.30 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                    27.95
                              12/08   Ach Return Worldpay                                                                                            27.95
                              12/09   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                    67.90

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat - Madison                                             27.95
                              12/08   Transfer To Coml Analysis Ck Account               4777                                                        10.45
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Madison - Ecomm                                   17.50
                              12/09   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              12/15   Commercial Service Charge                                                                                      67.90

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/09
                                 12/08                                          12/15
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 23 of 41
                                                                                                                                  FINAL STATEMENT
                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX5216
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16437-0001




                                                                                                                            E
                                                             HOPCAT-LEXINGTON, LLC                                    <C> <T>
                                                             35 OAKES ST SW STE 400                                         0
                                                             GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX5216
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             73.40 (4)          73.40 (5)


                              CREDITS
                              Date Description                                                                                                    Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                    27.95
                              12/08   Ach Return Worldpay                                                                                            27.95
                              12/09   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              12/14   Request To Close Account - Shawn Blonk                                                                          0.00

                              DEBITS
                              Date Description                                                                                                    Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat Lexington                                             27.95
                              12/08   Transfer To Coml Analysis Ck Account               4777                                                        10.45
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Lexington - Ecomm                                 17.50
                              12/09   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              12/14   Request To Close Account - Shawn Blonk                                                                          0.00

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/09
                                 12/08                                          12/14
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 24 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX0830
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-16706-0001




                                                                                                                             E
                                                             HOPCAT-LINCOLN, LLC                                      <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX0830
                               Last Statement      Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00            3,247.65 (6)      3,247.65 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/01   Transfer From Coml Analysis Ck Account                 4777                                                2,797.46
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                   81.00
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                   67.77
                              12/08   Ach Return Worldpay                                                                                           81.00
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  148.77
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   71.65

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/01   City Of Lincoln Restaurant                                                                                 2,797.46
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat Lincoln - Old                                        81.00
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Lincoln - Ecomm                                 148.77
                              12/09   Transfer To Coml Analysis Ck Account               4777                                                      148.77
                              12/15   Commercial Service Charge                                                                                     71.65

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/01                                          12/08                                    12/15
                                 12/07                                          12/09
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 25 of 41

                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX9227
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-17349-0001




                                                                                                                             E
                                                             HOPCAT - KALAMAZOO, LLC                                  <T> 30-0
                                                             35 OAKES ST SW STE 400                                          0
                                                             GRAND RAPIDS, MI 49503                                          0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX9227
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00             462.13 (4)        462.13 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                  375.73
                              12/09   Transfer From Coml Analysis Ck Account                 4777                                                   37.32
                              12/15   Transfer From Coml Analysis Ck Account                 4777                                                   21.95
                              12/28   Transfer From Coml Analysis Ck Account                 4777                                                   27.13

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/07   Mthchgs Worldpay Merch Bankcard         Hopcat - Kalamazoo - Old                                              61.38
                              12/07   Mthchgs Worldpay Merch Bankcard         Hopcat Kalamazoo 2 - Ecom                                            314.35
                              12/09   Fintech.net Fintecheft XX-XXX8992                                                                             37.32
                              12/15   Commercial Service Charge                                                                                     21.95
                              12/28   Comb. Exc. Worldpay Worldpay Comb. Exc.                  Hop                                                  27.13

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/15
                                 12/09                                          12/28
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 26 of 41
                                                                                                                                 FINAL STATEMENT
                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX8664
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-18092-0001




                                                                                                                            E
                                                             HOPCAT-MINNEAPOLIS, LLC                                  <C> <T>
                                                             35 OAKES ST SW STE 400                                         0
                                                             GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX8664
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00            133.40 (4)         133.40 (5)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                    57.95
                              12/08   Ach Return Worldpay                                                                                            57.95
                              12/09   Vantiv_intg_pymt Ach Return                                                                                    17.50
                              12/14   Request To Close Account - Shawn Blonk                                                                          0.00

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat Minny                                                 57.95
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Minneapolis                                       17.50
                              12/08   Transfer To Coml Analysis Ck Account               4777                                                        40.45
                              12/09   Transfer To Coml Analysis Ck Account               4777                                                        17.50
                              12/14   Request To Close Account - Shawn Blonk                                                                          0.00

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/09
                                 12/08                                          12/14
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 27 of 41
                                                                                                                                 FINAL STATEMENT
                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 12/31/2020
                                                                                                                            Primary Account: XXXXXX0488
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-19363-0001




                                                                                                                            E
                                                             HOPCAT - GR BELTLINE, LLC                                <C> <T>
                                                             35 OAKES ST SW STE 400                                         0
                                                             GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX0488
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20               0.00                     12/31/20               0.00           1,062.07 (6)       1,062.07 (6)


                              CREDITS
                              Date Description                                                                                                   Amount
                              12/07   Transfer From Coml Analysis Ck Account                 4777                                                   41.29
                              12/08   Ach Return Worldpay                                                                                           41.29
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                  450.44
                              12/09   Vantiv_intg_pymt Ach Return                                                                                  491.73
                              12/10   Fintech.net Ach Return                                                                                        37.32
                              12/14   Request To Close Account - Shawn Blonk                                                                         0.00

                              DEBITS
                              Date Description                                                                                                   Amount
                              12/07   Mthchgs Worldpay Merch Bankcard                   Hopcat Beltline - Old                                       41.29
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                Hopcat Knapps Corner - Ecomm                           491.73
                              12/09   Fintech.net Fintecheft XX-XXX6994                                                                             37.32
                              12/09   Transfer To Coml Analysis Ck Account              4777                                                       454.41
                              12/10   Transfer To Coml Analysis Ck Account              4777                                                        37.32
                              12/14   Request To Close Account - Shawn Blonk                                                                         0.00

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 12/07                                          12/09                                   12/14
                                 12/08                                          12/10
                                             Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021                 Page 28 of 41
                                                                                                                                    FINAL STATEMENT
                                                     Return Service Requested                                                 Page:             1 of 1
                                                                                                                              Statement Date: 12/31/2020
                                                                                                                              Primary Account: XXXXXX0451
                                                                          07001
                                                                                                                              Documents:       0

                                                                                                                              Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-19362-0001




                                                                                                                            E
                                                             HOPCAT - HOLLAND, LLC                                    <C> <T>
                                                             35 OAKES ST SW STE 400                                         0
                                                             GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                 Account: XXXXXX0451
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits        Total Debits
                                  11/30/20               0.00                     12/31/20               0.00               700.14 (6)        700.14 (5)


                              CREDITS
                              Date Description                                                                                                     Amount
                              12/08   Transfer From Coml Analysis Ck Account                 4777                                                    227.60
                              12/09   Transfer From Coml Analysis Ck Account                 4777                                                      8.67
                              12/09   Vantiv_intg_pymt Ach Return                                                                                    227.60
                              12/10   Fintech.net Ach Return                                                                                          37.32
                              12/10   Fifth Third Ach Ach Return                                                                                     198.95
                              12/14   Request To Close Account - Shawn Blonk                                                                           0.00

                              DEBITS
                              Date Description                                                                                                     Amount
                              12/08   Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Holland - Ecomm - Old                            227.60
                              12/09   Fintech.net Fintecheft XX-XXX7132                                                                               37.32
                              12/09   Fifth Third Ach Mps Billng                                                                                     198.95
                              12/10   Transfer To Coml Analysis Ck Account              4777                                                         236.27
                              12/14   Request To Close Account - Shawn Blonk                                                                           0.00

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date                Balance
                                 12/08                                          12/10
                                 12/09                                          12/14
                                             Case:20-01947-jwb            Doc #:456 Filed: 04/13/2021          Page 29 of 41

                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 12/31/2020
                                                                                                                   Primary Account: XXXXXX4153
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-19444-0001




                                                                                                                    E
                                                           BARFLY VENTURES, LLC                              <T> 30-0
                                                           BARFLY SITE CHECKING                                     0
                                                           35 OAKES ST SW STE 400                                   0
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                        Account: XXXXXX4153
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  11/30/20           3,989.27                   12/31/20      2,169.15             0.00           1,820.12 (2)


                              DEBITS
                              Date Description                                                                                          Amount
                              12/02 Withdrawal                                                                                          1,808.00
                              12/15 Commercial Service Charge                                                                              12.12

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 12/02              2,181.27                  12/15          2,169.15
                                             Case:20-01947-jwb             Doc #:456 Filed: 04/13/2021                 Page 30 of 41

                                                    Return Service Requested                                               Page:             1 of 1
                                                                                                                           Statement Date: 12/31/2020
                                                                                                                           Primary Account: XXXXXX0888
                                                                         07001
                                                                                                                           Documents:       0

                                                                                                                           Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-10407-0001




                                                                                                                            E
                                                            BARFLY VENTURES, LLC                                     <T> 30-0
                                                            FSA CHECKING                                                    0
                                                            35 OAKES ST SW STE 400                                          0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                              Account: XXXXXX0888
                               Last Statement     Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  11/30/20              0.00                     12/31/20               0.00             300.00 (1)        300.00 (5)


                              CREDITS
                              Date Description                                                                                                  Amount
                              12/15 Transfer From Coml Analysis Ck Account                  4777                                                  300.00

                              DEBITS
                              Date Description                                                                                                  Amount
                              12/15   Commercial Service Charge                                                                                     17.30
                              12/15   Commercial Service Charge                                                                                     67.60
                              12/15   Commercial Service Charge                                                                                     67.60
                              12/15   Commercial Service Charge                                                                                     73.00
                              12/15   Commercial Service Charge                                                                                     74.50

                              DAILY BALANCE
                                Date                 Balance                   Date                  Balance            Date              Balance
                                 12/15
                                              Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021          Page 31 of 41
                                                                                                                           FINAL STATEMENT
                                                      Return Service Requested                                        Page:             1 of 1
                                                                                                                      Statement Date: 12/31/2020
                                                                                                                      Primary Account: XXXXXX6311
                                                                           07001
                                                                                                                      Documents:       0

                                                                                                                      Period: 11/30/20 to 12/31/20
MGMCSTMTN 210101-19473-0001




                                                                                                                      E
                                                              BARFLY VENTURES, LLC                              <C> <T>
                                                              35 OAKES ST SW STE 400                                  0
                                                              GRAND RAPIDS, MI 49503                                  0




                              BUSINESS MONEY MARKET ACCOUNT                                                                Account: XXXXXX6311
                               Last Statement       Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                   11/30/20              312.03                    12/31/20        0.00             0.00 (1)          312.03 (2)


                              CREDITS
                              Date Description                                                                                             Amount
                              12/14 Request To Close Account - Shawn Blonk                                                                     0.00

                              DEBITS
                              Date Description                                                                                             Amount
                              12/11 Internet Transfer To Coml Analysis Ck XXXXXX4777 On 12/11/20 At 9:28                                     312.03
                              12/14 Request To Close Account - Shawn Blonk                                                                     0.00

                              INTEREST
                              Interest Paid 2020:                                    889.00

                              DAILY BALANCE
                                Date                   Balance                   Date           Balance            Date              Balance
                                 12/11                                           12/14
                                              Case:20-01947-jwb              Doc #:456 Filed: 04/13/2021          Page 32 of 41
                                                                                                                           FINAL STATEMENT
                                                      Return Service Requested                                        Page:             1 of 1
                                                                                                                      Statement Date: 12/31/2020
                                                                                                                      Primary Account: XXXXXX6926
                                                                           07001
                                                                                                                      Documents:       0

                                                                                                                      Period: 12/01/20 THRU 12/13/20
MGMCSTMTN 210101-21518-0001




                                                                                                                      E
                                                              BARFLY VENTURES, LLC                              <C> <T>
                                                              35 OAKES ST SW STE 400                                  0
                                                              GRAND RAPIDS, MI 49503                                  0




                              BUSINESS MONEY MARKET ACCOUNT                                                                Account: XXXXXX6926
                               Last Statement      Previous Balance         This Statement    Current Balance     Total Credits     Total Debits
                                   11/30/20            30,027.08                   12/31/20        0.00             0.37 (1)        30,027.45 (3)


                              CREDITS
                              Date Description                                                                                             Amount
                              12/14 Interest                                                                                                   0.37

                              DEBITS
                              Date Description                                                                                             Amount
                              12/10 Credit Card Payment                                                                                  27,678.94
                              12/11 Internet Transfer To Coml Analysis Ck XXXXXX4777 On 12/11/20 At 9:25                                  2,348.14
                              12/14 Request To Close Account - Shawn Blonk                                                                    0.37

                              INTEREST
                              Interest Paid This Period:                                .37
                              Interest Paid 2020:                                     22.52

                              DAILY BALANCE
                                Date                   Balance                   Date           Balance            Date             Balance
                                 12/10                 2,348.14                  12/11                            12/14
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 33 of 41
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 34 of 41
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 35 of 41
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 36 of 41
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 37 of 41
Case:20-01947-jwb   Doc #:456 Filed: 04/13/2021   Page 38 of 41
            Case:20-01947-jwb           Doc #:456 Filed: 04/13/2021                 Page 39 of 41




         BARFLY VENTURES, LLC                                                                         Page 2 of 2
         December 31, 2020                                                                          XXXXXX7488

         Date      Description                          Additions            Subtractions                     Balance
         12-31    ' Interest Payment                       222.73                                         1,188,763.90
         12-31      Ending totals                        222.73              -497,231.66              $1,188,763.90



INTEREST INFORMATION
       Annual percentage yield earned                                                 0.20%
       Interest-bearing days                                                            31
       Average balance for APY                                               $1,311,200.37
       Interest earned                                                            $222.73



OVERDRAFT/RETURN ITEM FEES

                                                               Total for                           Total
                                                             this period                    year-to-date

           Total Overdraft Fees                                      $0.00                            $0.00

           Total Returned Item Fees                                  $0.00                            $0.00




                                        Thank you for banking with TCF National Bank
3/5/2021                   Case:20-01947-jwb             Doc #:456    Filed:
                                                                 Activity       04/13/2021
                                                                          - Deposit Accounts           Page 40 of 41




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:39:21 AM (ET)
   Account:             072410013 • *5554 • Checking • COMMERCIAL CHECKING
   Date range:          12/1/2020 to 12/31/2020
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5554 • Checking • COMMERCIAL CHECKING
                                    Additional                                                                                         Calculated
    Post Date    Reference                       Description                                                     Debit        Credit
                                    Reference                                                                                            Balance
                                                 ACCOUNT ANALYSIS FEE
    12/16/2020                                                                                                 $32.40                  $14,136.01
                                                 ANALYSIS ACTIVITY FOR 11/20
                 BARFLY                          PREAUTHORIZED ACH DEBIT
    12/11/2020                                                                                            $229,710.26                  $14,168.41
                 VENTURES FE                     BARFLY VENTURES FEES 201211
                                                 BOOK TRANSFER CREDIT
                                                 REF         FUNDS TRANSFER FRMDEP
    12/10/2020                                                                                                           $229,710.26 $243,878.67
                                                 XXXXXX7488 FROM TRANS FER FOR OCTOBER
                                                 PROFESSIONAL F
                                                 OUTGOING MONEY TRANSFER
    12/09/2020                                                BARFLY VENTURES LLTRANSFER                  $200,000.00                  $14,168.41
                                                 BETWEEN O
                                                 BOOK TRANSFER CREDIT
    12/09/2020                                   REF         FUNDS TRANSFER FRMDEP                                       $200,000.00 $214,168.41
                                                 XXXXXX7488 FROM
                 BARFLY                          PREAUTHORIZED ACH DEBIT
    12/04/2020                                                                                             $67,521.40                  $14,168.41
                 VENTURES PO                     BARFLY VENTURES POST CLOSE 201204
                                                 BOOK TRANSFER CREDIT
                                                 REF         FUNDS TRANSFER FRMDEP
    12/03/2020                                                                                                            $67,521.40   $81,689.81
                                                 XXXXXX7488 FROM SETTL E RECEIPTS WITH
                                                 NEWCO
    12/31/2020 Totals                                                                                     $497,264.06 $497,231.66




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                               1/1
3/5/2021                   Case:20-01947-jwb               Doc #:456    Filed:
                                                                   Activity       04/13/2021
                                                                            - Deposit Accounts         Page 41 of 41




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:43:42 AM (ET)
   Account:             072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
   Date range:          12/1/2020 to 12/31/2020
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
                               Additional                                                                                               Calculated
    Post Date    Reference                   Description                                                            Debit      Credit
                               Reference                                                                                                  Balance
                                             ATM DEBIT
    12/22/2020                               MERCHANT PURCHASE TERMINAL        AMZN Mktp US                        $90.07               $14,750.73
                                                       Amzn com WAXXXXX XXXXXXX3630
                                             MISCELLANEOUS CREDIT
    12/22/2020                               MERCHANT REFUND TERMINAL                 AMZN Mktp US Amzn                     $6,328.20 $14,840.80
                                             com WAXXXXX XXXXXXX3630
                                             ATM DEBIT
    12/21/2020                               MERCHANT PURCHASE TERMINAL       PODS OF GRAND                       $189.74                $8,512.60
                                             RAPIDS       MIXXXXX XXXXXXX3630
                                             ACCOUNT ANALYSIS FEE
    12/16/2020                                                                                                      $3.00                $8,702.34
                                             ANALYSIS ACTIVITY FOR 11/20
    12/31/2020 Totals                                                                                             $282.81 $6,328.20




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                                1/1
